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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

 UNITED STATES OF AMERICA

                   v.                                  Case No. 21-cr-278 (BAH)

 DANIEL JAY HERENDEEN,                                 Judge Beryl A. Howell

                   Defendant.




                                              ORDER

       Upon consideration of the defendant’s Emergency Unopposed Motion to Delay Self-

Surrender, ECF No. 92, in light of the Probation Department’s numerous attempts to determine

defendant’s self-surrender date, to which the Bureau of Prisons failed to respond, and in light of

the severe adverse effects of the Bureau of Prison’s brief three-day advance notice of defendant’s

self-surrender date not merely for defendant’s family, which should be prepared for this

eventuality, but for his co-workers, clients, and employer due to his current assignment as

foreman of a Toyota plant in Huntsville, Alabama, for which his sudden departure could disrupt

the plant’s work for as long as 3 to 4 days, it is hereby

       ORDERED that defendant’s Emergency Unopposed Motion to Delay Self-Surrender,

ECF No. 92, is GRANTED; it is further

       ORDERED that Mr. Herendeen shall surrender himself by May 8, 2023 at 5 p.m.

       SO ORDERED.

       DATE: April 6, 2023



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                                                       BERYL A. HOWELL
                                                       U.S. District Judge
